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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

                                                              :
JAKUB MADEJ                                                   :
                                                              :        CIVIL ACTION NO.
                          PLAINTIFF                           :        3:20-cv-00133-JCH
                                                              :
v.                                                            :
                                                              :
YALE UNIVERSITY, MARVIN CHUN,                                 :
MARK SCHENKER, PETER SALOVEY AND                              :
JESSIE ROYCE HILL                                             :
                                                              :
                          DEFENDANTS                          :
                                                              :        AUGUST 11, 2020

    MEMORANDUM OF LAW IN SUPPORT OF MOTION TO QUASH SUBPOENA AND
                 NOTICE OF VIDEOTAPED DEPOSITION

        On the afternoon of August 3, 2020, Keshav Raghavan notified defense counsel which he

received, via certified mail to his home address that day, a subpoena that commanded him to appear

at a deposition on August 17, 2020 at 231 Hudson Street, SoHo, New York and to produce

“documents in your possession as of January 14, 2020 sufficient to prove that Committee on

Honors and Academic Standing (“Committee”) exists, as well as documents indicating how

Committee on Honors and Academic Standing operates.”1 Yale University’s motion to quash the

subpoena and notice of deposition should be granted for four separate reasons: (1) the plaintiff

failed to comply with Rule 45 of the Federal Rules of Civil Procedure; (2) the subpoena is in direct

contravention of Judge Hall’s order; (3) the subpoena and notice of deposition subject Mr.

Raghavan to an undue burden; and (4) the production requests are duplicative of the requests for

production previously sent to Yale University and Mark Schenker.



1
 The plaintiff did not provide defense counsel with a copy of the subpoena until 2:26 a.m. on August 4, 2020. Copies
of the e-mail and the attached notice of deposition and subpoena are attached hereto as Exhibit A.
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I.      The Plaintiff Failed to Comply with Rule 45 of the Federal Rules of Civil Procedure.

        Rule 45(a)(4) of the Federal Rules of Civil Procedure provides: “If the subpoena commands

the production of documents, electronically stored information, or tangible things or the inspection

of premises before trial, then before it is served on the person to whom it is directed, a notice and

a copy of the subpoena must be served on each party.” (Emphasis added.) Mr. Raghavan notified

defense counsel at approximately 2:15 p.m. on August 3, 2020 that he had received a subpoena

via certified mail to his home address that day. Prior to that time, defense counsel had not received

any notice that the plaintiff intended to serve a subpoena on Mr. Raghavan. In fact, the plaintiff

did not provide defense counsel with a copy of the subpoena until 2:26 a.m. on August 4, 2020,

and provided that notice only after defense counsel had e-mailed the plaintiff about the subpoena

directed to Mr. Raghavan.2 (Ex. A, B.) The Notice of Videotaped Deposition is dated August 4,

2020 and gives notice that a subpoena will be served on Mr. Raghavan on August 2, 2020, or soon

thereafter. (Ex. A, p. 2.) Since the plaintiff did not comply with Rule 45(a)(4), the subpoena

should be quashed.

II.     The Subpoena is in Direct Contravention of Judge Hall’s Order.

        On May 29, 2020, Judge Hall ordered:

                 Going forward, as discussed on the record, Mr. Madej should not attempt to
                 contact any person whom Attorney Noonan has informed Mr. Madej,
                 through the following process: “If Attorney Noonan forwards to Mr. Madej,
                 by e-mail, a copy of a writing signed by any person that may have some
                 knowledge about the matters in this case, which writing states that they wish
                 Attorney Noonan to represent them in connection with this case, and
                 Attorney Noonan represents that 1) he, Attorney Noonan, has accepted the
                 request to represent the person in the attached correspondence, and 2), he,
                 Attorney Noonan, will accept service of any papers or discovery requests
                 intended for that person, then Mr. Madej may only contact that person
                 through Attorney Noonan. As discussed on the record, a writing by an

2
 A copy of the e-mail correspondence between defense counsel and the plaintiff regarding the subpoena directed to
Mr. Raghavan is attached hereto as Exhibit B.


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                    individual agreeing to have Attorney Noonan represent them may be an e-
                    mail with an address identifying that person or a document signed by a
                    digital signature, or a written/typed communication. This order is not
                    limited to the five individuals who have received subpoenas.

(Docket Entry No. 104.) In accordance with Judge Hall’s order, on May 31, 2020, defense counsel

e-mailed the plaintiff to inform him that eleven individuals, including Mr. Raghavan, had asked

defense counsel to represent them in this matter and that defense counsel had agreed to do so.

Defense counsel also waived any requirements that the eleven individuals be personally provided

with any pleadings, documents and communications. Defense counsel agreed to have all such

materials sent to him instead of the individuals.3 (Ex. C.)

           Since the plaintiff was aware that Mr. Raghavan was represented by defense counsel in this

matter and that defense counsel had agreed to accept service on behalf of Mr. Raghavan, pursuant

to Judge Hall’s order, the plaintiff should not have sent the subpoena to Mr. Raghavan. Rather,

the plaintiff should have communicated with defense counsel via e-mail regarding his intent to

depose Mr. Raghavan. Since the subpoena is in direct contravention of Judge Hall’s order, the

motion to quash should be granted.

III.       The Subpoena and Notice of Deposition Subject Mr. Raghavan to an Undue Burden.

           Rule 45(d)(3)(A)(iv) of the Federal Rules of Civil Procedure requires the Court to quash

or modify a subpoena that “subjects a person to undue burden.” The subpoena commands Mr.

Raghavan, who resides in Connecticut, to appear for an in person deposition in SoHo, New York

on August 17, 2020. (Ex. A, p. 4.) Given the COVID-19 pandemic, these directives subject Mr.

Raghavan to an undue burden. Mr. Raghavan is not comfortable traveling to New York or

appearing at a deposition in person given the health risks due to the virus. Rule 26(b)(1) of the



3
    A copy of the May 31, 2020 e-mail is attached hereto as Exhibit C.


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Federal Rules of Civil Procedure specifies that discovery is permitted only for information that is

“relevant to any party’s claim or defense and proportional to the needs of the case.” The rule also

stipulates that the trial court should consider “the importance of the discovery in resolving the

issues, and whether the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit.” Mr. Raghavan recused himself

from voting on the plaintiff’s petition because he had had prior contact with the plaintiff; thus, he

has no information relevant to the plaintiff’s claims since he did not participate in the discussion

or the decision of CHAS rejecting the plaintiff’s petition to reverse the two semester involuntary

withdrawal. Given this fact, he should not be required to travel out of state or participate in an in

person deposition. Indeed, there is no basis for deposing him at all, since he was not in any way

involved in the decision. If Mr. Raghavan is to be subjected to a deposition at all, the defendant

requests that the deposition proceed via Zoom at a mutually convenient time to ensure the safety

of all participants. Since Mr. Raghavan, a non-party, is subjected to an “undue burden” within the

meaning of Rule 45, the motion to quash should be granted.

IV.    The Production Requests are Duplicative of the Requests Sent to Yale University and
       Mark Schenker.

       The subpoena directs Mr. Raghavan to produce “[d]ocuments in your posession as of

January 14, 2020 sufficient to prove that Committee on Honors and Academic Standing

(“Committee”) exists, as well as documents indicating how Committee on Honors and Academic

Standing operates.” (Ex. A, p. 4.) As a student member of the Committee on Honors and

Academic Standing, Mr. Raghavan personally does not have any responsive documents.

       The plaintiff directed similar requests for production to Yale University and Mark




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Schenker.4 On July 27, 2020, the plaintiff asked Yale University to “[p]roduce the faculty

legislation that established the Committee on Honors and Academic Standing.” (Ex. D, p. 1.) Yale

University’s responses are not due until August 26, 2020. On July 28, 2020, the plaintiff asked

Dean Schenker to “[p]roduce documents sufficient to persuade a reasonable juror that the

Committee on Honors and Academic Standing at Yale College ‘does it work via written statements

and documents’.” (Ex. D, p. 3.) Dean Schenker objected to the requests directed to him on July

30, 2020.5 (Ex. E.) Since the plaintiff has already propounded discovery requests to two

defendants requesting production of the documents sought in the subpoena directed to Mr.

Raghavan, the production requests in the subpoena should be quashed.

                                                  CONCLUSION

           For the foregoing reasons, Yale University’s Motion to Quash Subpoena and Notice of

Videotaped Deposition of Mr. Raghavan should be granted.



                                                         THE DEFENDANT,

                                                         YALE UNIVERSITY


                                                   By:                 /s/
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                                                         COLLEEN NOONAN DAVIS – CT27773
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4
    These discovery requests are attached hereto as Exhibit D.

5
    Dean Schenker’s objections are attached hereto as Exhibit E.


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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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